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                                 EXHIBIT A
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                                                                           Twenty-Eighth Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME             FILED            DEBTOR               CLAIM #   CLAIM AMOUNT
1 BURGOS MERCASO,               05/28/18   Puerto Rico Highways and       24509              $ 1,250,000.00* PABUR INC. H/N/C        05/28/18   Puerto Rico Highways and    25296        $ 1,250,000.00*
  LUIS ARNALDO                             Transportation Authority                                          H2ONLY                             Transportation Authority
  C/O LCDO. DENNIS J.                      17 BK 03567-LTS                                                   C/O LCDO. DENNIS J.                17 BK 03567-LTS
  CRUZ PÉREZ                                                                                                 CRUZ PÉREZ
  P. O. BOX 10720                                                                                            P. O. BOX 10720
  PONCE, PR 00732                                                                                            PONCE, PR 00732

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
2 CINTRON SANTIAGO,             05/22/18   Puerto Rico Highways and       25212                       $ 138.05 CINTRON SANTIAGO,     05/22/18   Puerto Rico Highways and    31213              $ 138.05
  KENETH                                   Transportation Authority                                            MONICA E.                        Transportation Authority
  C/O LUIS G. PADILLA                      17 BK 03567-LTS                                                     C/O LUIS G PADILLA               17 BK 03567-LTS
  BRUNO                                                                                                        BRUNO
  BANCO COOPERATIVO                                                                                            BANCO COOPERATIVO
  PLAZA                                                                                                        PLAZA
  623 AVE. PONCE DE                                                                                            623 AVE. PONCE DE
  LEON, STE. 701-A                                                                                             LEON, STE. 701-A
  SAN JUAN, PR 00917                                                                                           SAN JUAN, PR 00917

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
3 GRUPO DE                      05/28/18   Puerto Rico Highways and       24504              $ 32,365,222.00 GRUPO DE                05/29/18   Puerto Rico Highways and    36109        $ 32,365,222.00
  DESARROLLO LOS                           Transportation Authority                                          DESARROLLO LOS                     Transportation Authority
  ALTOS SAN JUAN, INC.                     17 BK 03567-LTS                                                   ALTOS SAN JUAN, INC.               17 BK 03567-LTS
  OSCAR RIVERA                                                                                               OSCAR RIVERA
  PO BOX 331180                                                                                              PO BOX 331180
  MIAMI, FL 33233-1180                                                                                       MIAMI, FL 33233-1180

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
4 LABOY ARCE, ANEIDA            06/27/18   Puerto Rico Highways and       47032              Undetermined* LABOY ARCE, ANEIDA        06/28/18   Puerto Rico Highways and    121253       Undetermined*
  JOHN F KENNEDY 18                        Transportation Authority                                        JOHN F KENNEDY 18                    Transportation Authority
  ADJUNTAS, PR 00601                       17 BK 03567-LTS                                                 ADJUNTAS, PR 00601                   17 BK 03567-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
5 LAS MONJAS REALTY II,         06/05/18   Puerto Rico Highways and       39976              $ 1,274,000.00* LAS MONJAS REALTY II,   06/06/18   Puerto Rico Highways and    36496        $ 1,274,000.00*
  SE                                       Transportation Authority                                          SE                                 Transportation Authority
  G.CARLO-ALTIERI LAW                      17 BK 03567-LTS                                                   G. CARLO-ALTIERI LAW               17 BK 03567-LTS
  OFFICES                                                                                                    OFFICES
  254 CALLE SAN JOSE,                                                                                        254 CALLE SAN JOSE,
  THIRD FLOOR                                                                                                THIRD FLOOR
  SAN JUAN, PR 00901                                                                                         SAN JUAN, PR 00901

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



            * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 1 of 5
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                                                                            Twenty-Eighth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME             FILED            DEBTOR               CLAIM #   CLAIM AMOUNT
6 MERCADO, OSCAR                 05/22/18   Puerto Rico Highways and       18749              Undetermined* MERCADO, OSCAR            05/22/18   Puerto Rico Highways and    18915        Undetermined*
  OLMEDA                                    Transportation Authority                                        OLMEDA                               Transportation Authority
  ASOCIACIÓN DE                             17 BK 03567-LTS                                                 ASOCIACIÓN DE                        17 BK 03567-LTS
  EMPLEADOS                                                                                                 EMPLEADOS
  GERENCIALES                                                                                               GERENCIALES
  AUTORIDAD DE                                                                                              AUTORIDAD DE
  CARRETERAS Y                                                                                              CARRETERAS Y
  TRANSPORTACIÓN                                                                                            TRANSPORTACIÓN
  APARTADO 40177                                                                                            APARTADO 40177
  ESTACIÓN MINILLAS                                                                                         ESTACIÓN MINILLAS
  SAN JUAN, PR 00940                                                                                        SAN JUAN, PR 00940

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
7 MILA BARCELO, ROSA             05/28/18   Puerto Rico Highways and       24514              $ 1,250,000.00* PABUR INC. H/N/C        05/28/18   Puerto Rico Highways and    25296        $ 1,250,000.00*
  MERCEDES                                  Transportation Authority                                          H2ONLY                             Transportation Authority
  C/O LCDO. DENNIS J.                       17 BK 03567-LTS                                                   C/O LCDO. DENNIS J.                17 BK 03567-LTS
  CRUZ PÉREZ                                                                                                  CRUZ PÉREZ
  P. O. BOX 10720                                                                                             P. O. BOX 10720
  PONCE, PR 00732                                                                                             PONCE, PR 00732

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
8 MONTALVO, IVAN                 05/21/18   Puerto Rico Highways and       18400                   $ 9,997.00 MONTALVO, IVAN          05/25/18   Puerto Rico Highways and    30747             $ 9,997.00
  101 BRADY ROAD                            Transportation Authority                                          101 BRADY ROAD                     Transportation Authority
  SACKETS HARBOR, NY                        17 BK 03567-LTS                                                   SACKETS HARBOR, NY                 17 BK 03567-LTS
  13685-9510                                                                                                  13685-9510

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
9 MORALES MORALES,               06/28/18   Puerto Rico Highways and       65494              Undetermined* MORALES MORALES,          06/29/18   Puerto Rico Highways and    98827        Undetermined*
  ILDEFONSO                                 Transportation Authority                                        ILDEFONSO                            Transportation Authority
  PO BOX 63                                 17 BK 03567-LTS                                                 PO BOX 63                            17 BK 03567-LTS
  CASTANER, PR 00631                                                                                        CASTANER, PR 00631

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
10 ORENGO MELENDEZ,              05/29/18   Puerto Rico Highways and       26611                 $ 80,000.00 ORENGO MELENDEZ,         05/29/18   Puerto Rico Highways and    27107            $ 80,000.00
   ELY E                                    Transportation Authority                                         ELY E                               Transportation Authority
   CALLE 5 #490                             17 BK 03567-LTS                                                  CALLE 5 #490                        17 BK 03567-LTS
   SANTA ISABEL, PR 00757                                                                                    SANTA ISABEL, PR 00757

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 2 of 5
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                                                                            Twenty-Eighth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME         FILED            DEBTOR               CLAIM #   CLAIM AMOUNT
11 PLAZA TOLEDO, ELVIN           06/27/18   Puerto Rico Highways and       50598              Undetermined* PLAZA TOLEDO, ELVIN   06/28/18   Puerto Rico Highways and    125344       Undetermined*
   HC-01 BOX 3605                           Transportation Authority                                        HC-01 BOX 3605                   Transportation Authority
   ADJUNTAS, PR 00601                       17 BK 03567-LTS                                                 ADJUNTAS, PR 00601               17 BK 03567-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
12 PLAZA TOLEDO, ELVIN           06/27/18   Puerto Rico Highways and       51094              Undetermined* PLAZA TOLEDO, ELVIN   06/28/18   Puerto Rico Highways and    156972       Undetermined*
   HC-01 BOX 3605                           Transportation Authority                                        HC-01 BOX 3605                   Transportation Authority
   ADJUNTAS, PR 00601                       17 BK 03567-LTS                                                 ADJUNTAS, PR 00601               17 BK 03567-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
13 PLAZA TOLEDO, ELVIN           06/27/18   Puerto Rico Highways and       53909              Undetermined* PLAZA TOLEDO, ELVIN   06/28/18   Puerto Rico Highways and    117168       Undetermined*
   HC-01 BOX 3605                           Transportation Authority                                        HC-01 BOX 3605                   Transportation Authority
   ADJUNTAS, PR 00601                       17 BK 03567-LTS                                                 ADJUNTAS, PR 00601               17 BK 03567-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
14 PLAZA TOLEDO, ELVIN           06/27/18   Puerto Rico Highways and       54174              Undetermined* PLAZA TOLEDO, ELVIN   06/28/18   Puerto Rico Highways and    113631       Undetermined*
   HC-01 BOX 3605                           Transportation Authority                                        HC-01 BOX 3605                   Transportation Authority
   ADJUNTAS, PR 00601                       17 BK 03567-LTS                                                 ADJUNTAS, PR 00601               17 BK 03567-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
15 RADI CORP.                    07/17/17   Puerto Rico Highways and          2               $ 1,700,000.00* RADI CORP.          07/17/17   Puerto Rico Highways and      4          $ 1,700,000.00*
   JORGE L. COUTO                           Transportation Authority                                          JORGE L. COUTO                 Transportation Authority
   GONZALEZ                                 17 BK 03567-LTS                                                   GONZALEZ                       17 BK 03567-LTS
   P.O. BOX 197                                                                                               P.O. BOX 197
   MANATI, PR 00674                                                                                           MANATI, PR 00674

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
16 RESTO HERNANDEZ,              06/28/18   Puerto Rico Highways and       60644                $ 16,000.00* RESTO HERNANDEZ,     07/06/18   Puerto Rico Highways and    136441           $ 16,000.00
   EUGENIO                                  Transportation Authority                                         EUGENIO                         Transportation Authority
   P O BOX 344                              17 BK 03567-LTS                                                  P.O. BOX 344                    17 BK 03567-LTS
   CIALES, PR 00638                                                                                          CIALES, PR 00638

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 3 of 5
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                                                                            Twenty-Eighth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME              FILED            DEBTOR               CLAIM #   CLAIM AMOUNT
17 RIO CONSTRUCTION              06/22/18   Puerto Rico Highways and       49852               $ 539,146.05* RIO CONSTRUCTION          06/25/18   Puerto Rico Highways and    50780          $ 539,146.05
   CORP.                                    Transportation Authority                                         CORP.                                Transportation Authority
   PAVIA & LAZARO, PSC                      17 BK 03567-LTS                                                  PAVIA & LAZARO, PSC                  17 BK 03567-LTS
   ATTN: GERARDO PAVIA                                                                                       ATTN. GERARDO PAVIA
   CABANILLAS                                                                                                CABANILLAS
   PO BOX 9746                                                                                               PO BOX 9746
   SAN JUAN, PR 00908                                                                                        SAN JUAN, PR 00908

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
18 RUBIO RIVERA, ELIO J          05/15/18   Puerto Rico Highways and       15614                 $ 20,000.00 RUBIO RIVERA, ELIO J      05/15/18   Puerto Rico Highways and    16040            $ 20,000.00
   876 RAVEL URB                            Transportation Authority                                         876 RAVEL URB                        Transportation Authority
   SEVILLA                                  17 BK 03567-LTS                                                  SEVILLA                              17 BK 03567-LTS
   SAN JUAN, PR 00924-3050                                                                                   SAN JUAN, PR 00924-3050

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
19 SOCIEDAD LEGAL DE             05/28/18   Puerto Rico Highways and       24695               $ 1,250,000.00 PABUR INC. H/N/C         05/28/18   Puerto Rico Highways and    25296        $ 1,250,000.00*
   GANANCIALES                              Transportation Authority                                          H2ONLY                              Transportation Authority
   BURGOS-MILA                              17 BK 03567-LTS                                                   C/O LCDO. DENNIS J.                 17 BK 03567-LTS
   C/O LCDO. DENNIS J.                                                                                        CRUZ PÉREZ
   CRUZ PÉREZ                                                                                                 P. O. BOX 10720
   P. O. BOX 10720                                                                                            PONCE, PR 00732
   PONCE, PR 00732

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
20 SOTO GONZALEZ,                06/29/18   Puerto Rico Highways and       81593              Undetermined* SOTO GONZALEZ,             06/29/18   Puerto Rico Highways and    133963       Undetermined*
   CARLOS OMAR                              Transportation Authority                                        CARLOS OMAR                           Transportation Authority
   P.O. BOX 63                              17 BK 03567-LTS                                                 P.O. BOX 63                           17 BK 03567-LTS
   CASTAÑER, PR 00631                                                                                       CASTANER, PR 00631

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 4 of 5
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                                                                            Twenty-Eighth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR               CLAIM #   CLAIM AMOUNT
21 SUPER ASPHALT                 06/22/18   Puerto Rico Highways and       49093               $ 1,339,823.93 SUPER ASPHALT         06/25/18   Puerto Rico Highways and    70392         $ 1,339,823.93
   PAVEMENT                                 Transportation Authority                                          PAVEMENT                         Transportation Authority
   CORPORATION                              17 BK 03567-LTS                                                   CORPORATION                      17 BK 03567-LTS
   SUPER ASPHALT                                                                                              PAVIA & LAZARO, PSC
   PAVEMENT                                                                                                   ATTN: GERARDO PAVÍA
   CORPORATION                                                                                                CABANILLAS
   ATT. GERARDO PAVÍA                                                                                         P.O. BOX 9746
   CABANILLAS                                                                                                 SAN JUAN, PR 00908
   PO BOX 9746
   SAN JUAN, PR 00908

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
22 UNITED STATES                 06/29/18   Puerto Rico Highways and       95494              $ 1,015,660.82* UNITED STATES         07/06/18   Puerto Rico Highways and    160756       $ 1,015,660.82*
   DEPARTMENT OF                            Transportation Authority                                          DEPARTMENT OF                    Transportation Authority
   AGRICULTURE- RURAL                       17 BK 03567-LTS                                                   AGRICULTURE - RURAL              17 BK 03567-LTS
   DEVELOPMENT                                                                                                DEVELOPMENT
   BUILDING 654 PLAZA,                                                                                        BUILDING 654 PLAZA
   654 MUNOZ RIVERA                                                                                           654 MUNOZ RIVERA
   AVE. SUITE 601                                                                                             AVE.
   SAN JUAN, PR 00918                                                                                         SUITE 601
                                                                                                              SAN JUAN, PR 00918

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
23 UNIVERSITY OF                 06/29/18   Puerto Rico Highways and       76598                 $ 34,189.67 UNIVERSITY OF          06/29/18   Puerto Rico Highways and    91993          $ 34,189.67*
   PUERTO RICO                              Transportation Authority                                         PUERTO RICO                       Transportation Authority
   RETIREMENT SYSTEM                        17 BK 03567-LTS                                                  RETIREMENT SYSTEM                 17 BK 03567-LTS
   TRUST                                                                                                     TRUST
   AMRC, LLC                                                                                                 AMRC, LLC
   ATTN: JOSE LUIS                                                                                           ATTN. JOSE LUIS
   RAMIREZ COLL                                                                                              RAMIREZ COLL
   PO BOX 13128                                                                                              P.O BOX 13128
   SAN JUAN, PR 00908                                                                                        SAN JUAN, PR 00908

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 5 of 5
